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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ALABAMA
                                   SOUTHERN DIVISION


ROBERT L. JOHNSON,                                     )
                                                       )
        Plaintiff,                                     )
                                                       )
v.                                                     )   CIVIL ACTION 05-0389-WS-D
                                                       )
LEVAN THOMAS, et al.,                                  )
                                                       )
        Defendants.                                    )


                                                  ORDER

        On November 8, 2005, the undersigned entered an Order (doc. 17) denying plaintiff Robert L.
Johnson’s request to proceed on appeal without prepayment of fees and costs. Thereafter, Johnson, an
Alabama state prison inmate proceeding pro se in this action brought under 42 U.S.C. § 1983,
submitted a Prisoner Consent Form on Appeal (doc. 19), authorizing the withdrawal and payment of
partial filing fees and incremental partial payments from his prison account until the full $255 filing fee on
appeal has been paid.
        The problem with plaintiff’s Prisoner Consent Form is that it presupposes that he has been
granted in forma pauperis status on appeal. In fact, he has been denied such status, pursuant to 28
U.S.C. § 1915(b). The effect of the denial of plaintiff’s in forma pauperis request is that he must
prepay the entire appellate filing fee in full. See Henderson v. Norris, 129 F.3d 481, 483 (8th Cir.
1997) (when a prisoner seeks to appeal in a civil action in forma pauperis, “the only issue is whether
the inmate pays the entire fee at the initiation of the proceeding or over a period of time under an
installment plan.”); Rodriguez v. Cook, 169 F.3d 1176, 1177 (9th Cir. 1999) (appeals may be made
“despite failure to pay the filing fees only if the party is granted IFP status”). As one appellate court has
explained, “if the district judge certifies that the appeal has not been taken in good faith, then the judge
must not invoke the periodic-payment system established by § 1915(b). If the appeal is not in good
faith, and the litigant therefore is not entitled to proceed in forma pauperis, then the docket and filing
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fees must be prepaid in full.” Hyche v. Christensen, 170 F.3d 769, 770-71 (7th Cir. 1999) (overruled
on other grounds by Lee v. Clinton, 209 F.3d 1025 (7th Cir. 2000)); see also Baugh v. Taylor, 117
F.3d 197, 200 (5th Cir. 1997) (“A prisoner litigant who has been denied IFP status for appeal, or
whose appeal has been certified as taken in bad faith, must pay the full filing fee and other costs when
due, without the benefit of the accommodating assessment procedures found in section 1915(b).”).
        Inasmuch as the undersigned has denied IFP status to Johnson on appeal, he is not entitled to
avail himself of the partial payment procedures set forth in 28 U.S.C. § 1915(b). His Prisoner Consent
Form on Appeal represents a clear attempt to do just that; therefore, it is deemed moot. Johnson
remains responsible for prepaying the entire $255 filing fee for his appeal.


        DONE and ORDERED this 23rd day of November, 2005.


                                                          s/ WILLIAM H. STEELE
                                                          UNITED STATES DISTRICT JUDGE




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